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                8                                    UNITED STATES DISTRICT COURT

                9                                        DISTRICT OF NEVADA

               10    DIGITAL ALPHA ADVISORS, LLC, a                        Case No.: 2:23-cv-01339-JAD-DJA
                     Delaware limited liability company,
               11
                                        Plaintiff,                         STIPULATION TO EXTEND MODIFIED
               12     vs.                                                   TEMPORARY RESTRAINING ORDER
               13                                                                    (ECF No. 33)
                     RAHIM LADAK, an individual,
               14                                                                      (SIXTH REQUEST)
                                       Defendant.
               15

               16           Plaintiff Digital Alpha Advisors, LLC and Defendant Rahim Ladak (together, Plaintiff and

               17    Defendant are the “Parties”), by and through their respective counsel of record, hereby stipulate to

               18    extend the duration of the Modified Temporary Restraining Order (ECF No. 33), in accordance

               19    with the Court’s Minute Order dated October 31, 2023 (ECF No. 41), the Court’s Order Granting

               20    the Parties’ Stipulation to Extend Modified Temporary Restraining Order dated December 6, 2024

               21    (First Request) (ECF No. 47), the Court’s Order Granting the Parties’ Stipulation to Extend

               22    Modified Temporary Restraining Order dated January 24, 2024 (Second Request) (ECF No. 50),

               23    the Court’s Order Granting the Parties’ Stipulation to Extend Modified Temporary Restraining

               24    Order dated May 22, 2024 (Third Request) (ECF No. 52), the Court’s Order Granting the Parties’

               25    Stipulation to Extend Modified Temporary Restraining Order dated June 25, 2024 (Fourth Request)

               26    (ECF No. 54); the Court’s Order Granting the Parties Stipulation to Extend Modified Temporary

               27    Restraining Order dated July 9, 2024 (Fifth Request) (ECF No. 56), to 5:00 p.m. on August 9,

               28    2024, absent further stipulation of the Parties or Order of the Court.

JACKSON LEWIS P.C.                                                     1
   LAS VEGAS
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                1                      The Parties continue to make progress towards reaching a resolution of this case without
                2    further litigation. They have exchanged marked up drafts of the settlement papers and are working
                3    to reach final agreement. In light of these circumstances, the Parties need additional time to continue
                4    their discussions.
                5                      DATED this 6th day of August, 2024.
                6       JACKSON LEWIS P.C.                                   GRANGER & ASSOCIATES LLC
                7
                        /s/ Joshua A. Sliker                                 /s/ Howard B. Zakai
                8       JOSHUA A. SLIKER, ESQ.                               HOWARD B. ZAKAI, ESQ.
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               10
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                                                                             Henderson, Nevada 89052
               13
                                                                             Attorneys for Defendant
               14

               15                                                         ORDER

               16                                                                 IT IS SO ORDERED.
               17

               18                                                                 ____________________________________
                                                                                  UNITED STATES DISTRICT JUDGE
               19
                                                                                  Dated: ______________________________
               20
                     4854-2560-9736, v. 1

               21    4886-6563-6053, v. 1


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